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 3
 4       Entered on Docket
     ___________________________________________________________________
         July 01, 2022
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 6
 7                           UNITED STATES BANKRUPTCY COURT
 8                                 DISTRICT OF NEVADA
 9                                      ******
                                          )
10
      In re:                              ) Case No.: 21-14486-abl
11                                        )
      INFINITY CAPITAL MANAGEMENT, )        Chapter 7
12    INC.,                               )
                                          ) Adv. Proceeding No.: 21-01167-abl
13
                      Debtor.             )
14    ____________________________________)
      HASELECT-MEDICAL RECEIVABLES )        Hearing Date: June 24, 2022
15    LITIGATION FINANCE FUND             ) Hearing Time: 1:30 p.m.
      INTERNATIONAL SP,                   )
16
                                          )
17                   Plaintiff,           )
                                          )
18    v.                                  )
19                                        )
      TECUMSEH-INFINITY MEDICAL           )
20    RECEIVABLES FUND, LP,               )
                                          )
21                  Defendant.            )
22    ____________________________________)
      HASELECT-MEDICAL RECEIVABLES )
23    LITIGATION FINANCE FUND             )
      INTERNATIONAL SP, et al.,           )
24                                        )
25              Counter-Claimants,        )
                                          )
26    v.                                  )
                                          )
27    TECUMSEH-INFINITY MEDICAL           )
28    RECEIVABLES FUND, LP, et al.,       )
                                          )
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               Counter-Defendants.       )
 1
     ____________________________________)
 2                            ORDER DENYING MOTION TO DISMISS
 3          On June 24, 2022, the Court issued its oral ruling on Tecumseh-Infinity Medical
 4   Receivable Fund, LP’s Motion to Dismiss All Claims for Lack of Subject Matter Jurisdiction
 5   (“Motion to Dismiss”) (ECF No. 59).1 The Motion to Dismiss was filed on behalf of Tecumseh-
 6   Infinity Medical Receivables Fund, LP (“Defendant”).
 7          At the June 24, 2022 oral ruling, attorney Gabrielle A. Hamm appeared telephonically on
 8   behalf of the Defendant. Attorney Kyle Wyant appeared telephonically on behalf of Haselect-
 9   Medical Receivables Litigation Finance Fund International, SP (“Plaintiff”). No other telephonic
10   appearances were noted on the record.
11          To the extent that the Court made findings of fact and conclusions of law in the course of
12   its oral ruling on June 24, 2022, those findings of fact and conclusions of law are incorporated
13   into this Order by this reference pursuant to FED. R. CIV. P. 52, made applicable in this contested
14   matter pursuant to FED. R. BANKR. P. 9014(a) and (c) and 7052.
15          For the reasons stated on the record:
16          IT IS ORDERED that the Motion to Dismiss is DENIED in all respects.
17
18   Copies sent to all parties via CM/ECF Electronic Filing.
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               In this Order, all references to “ECF No.” are to the numbers assigned to the documents
28   filed in the above-captioned bankruptcy case as they appear on the docket maintained by the
     Clerk of the Court.
                                                           2
